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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 GREENTHREAD, LLC

                Plaintiff,                                   C.A. No. 23-cv-443-RGA-LDH

        vs.                                                  JURY TRIAL DEMANDED

 ON SEMICONDUCTOR CORPORATION;
 SEMICONDUCTOR COMPONENTS
 INDUSTRIES, LLC D/B/A ON
 SEMICONDUCTOR LLC

                Defendants.


                  MOTION FOR LEAVE TO AMEND THE COMPLAINT

        Plaintiff Greenthread, LLC (“Greenthread”) moves for leave to amend its Second

 Amended Complaint against Defendants On Semiconductor Corporation and Semiconductor

 Components Industries, LLC (collectively “Defendants”) pursuant to Federal Rule of Civil

 Procedure 15(a). Greenthread’s Opening Brief in Support of its Motion for Leave to Amend the

 Complaint sets forth the facts and legal precedent in support of this motion. A proposed order is

 attached. Pursuant to D. Del. L.R. 7.1.1, counsel for Plaintiffs made a reasonable effort to reach

 agreement with Defendants on the matters set forth in the motion. Counsel for Defendants advised

 that Defendants oppose Greenthread’s motion for leave to file an amended complaint.


  Dated: March 6, 2024                               Respectfully submitted,

                                                     FARNAN LLP

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